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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   R. STEVEN LAPHAM
     Assistant United States Attorney
 3   PETER M. WILLIAMS
     Special Assistant U.S. Attorney
 4   501 I Street, Suite 10-100
     Sacramento, CA 95814
 5   Telephone: (916) 554-2724
     Facsimile: (916) 554-2900
 6

 7   Attorneys for Plaintiff
     United States of America
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10                                IN THE UNITED STATES DISTRICT COURT

11                                      EASTERN DISTRICT OF CALIFORNIA

12

13   UNITED STATES OF AMERICA,                          CASE NO. 10-CR-00257 JAM

14                               Plaintiff,             ORDER DISMISSING INDICTMENT
                                                        AS TO SOUTH BAY WHOLESALE, INC.
15                         v.

16   GALIOM MANSOUR, ET AL.,

17                               Defendants.

18

19          Based on the government's motion to dismiss the indictment against South Bay Wholesale, Inc.,

20          IT IS HEREBY ORDERED that the above-captioned indictment be and hereby is dismissed as to

21   South Bay Wholesale, Inc. only.

22   DATED: 10/9/2013

23                                                       /s/ John A. Mendez____________
                                                         HON. JOHN A. MENDEZ
24                                                       United States District Court Judge
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